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                  EXHIBIT 32
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 From:               Satanove, Doran J.
 To:                 Justin.Gillett; Masimo.Apple
 Cc:                 *** Apple-Masimo; Ken.Parker@haynesboone.com; WH Apple-Masimo Service List
 Subject:            RE: Masimo v. Apple - Discovery Ltr. Re Apple"s RFPs
 Date:               Friday, March 18, 2022 10:19:16 AM



 EXTERNAL SENDER

 Justin,

 We write to follow up on yesterday’s meet and confer concerning Plaintiffs’ responses to Apple’s
 16th Set of RFPs.

 RFPs 358-375: Regarding documents responsive to these RFPs that pre-dates the close of discovery
 in the ITC proceeding, we reiterated our position in our March 9, 2022 letter that Plaintiffs should
 either (i) produce such documents in this case; or (ii) identify all responsive documents produced in
 the ITC action by Bates numbers to be designated for cross-use in this action. Plaintiffs refused to
 agree to doing either. Accordingly, as to responsive documents pre-dating the close of discovery in
 the ITC investigation, the parties are at an impasse regarding these RFPs.

 With respect to responsive documents that post-date the close of discovery in the ITC proceeding,
 Plaintiffs confirmed they would produce the documents called for by these RFPs. Please provide a
 date by when Plaintiffs will begin doing so.

 RFPs 376, 378, 386-392, 396, 397, 399, 400: Plaintiffs maintained their position that they would not
 produce responsive documents unless Apple confirmed it would produce reciprocal discovery. We
 explained, as we did in our March 9 letter, that courts “will not . . . countenance[]” “[c]onditioning
 responses to discovery requests on another party’s agreement to do the same, in
 a tit-for-tat manner[.]” Lubahn v. Absolute Software, 2017 WL 6461863, at *1 (E.D. Mich. Dec. 19,
 2017 (citation omitted). Indeed, courts have noted such a position may be sanctionable. See id.; see
 also Nat'l Acad. of Recording Arts & Scis., Inc. v. On Point Events, LP, 256 F.R.D. 678, 680-681 (C.D.
 Cal. 2009) (recognizing same, and citing cases finding “‘tit-for-tat’ objections to discovery” are not
 “legitimate objections” at all); see also Richardson v. City of Antioch, 2009 WL 982118, at *1 (N.D.
 Cal. Apr. 13, 2009) (same).

 Although it is improper for Plaintiffs to condition their responses to these RFPs on Apple providing
 reciprocal discovery, Plaintiffs repeatedly asked whether Apple would produce documents in
 response to hypothetical RFPs mirroring Apple’s RFPs at issue, explicitly asking whether Apple would
 agree to produce documents in response to the same RFPs “if the word ‘Plaintiffs’ was replaced with
 ‘Apple.’” We explained that Apple’s hypothetical responses to hypothetical RFPs were not the
 subject of the meet and confer; Apple has no obligation to respond to hypothetical discovery
 requests; if Plaintiffs are not satisfied with Apple’s responses to any of Plaintiffs’ RFPs to date (which
 include document productions responsive to the hypothetical RFPs Plaintiffs posed) they may
 explain as much in writing; if Plaintiffs wish to seek additional discovery from Apple they may serve
 such discovery—and that none of the foregoing has anything to do with Plaintiffs’ obligations to
 timely respond to Apple’s RFPs at issue.  See Richardson, 2009 WL 982118, at *1 (whether a party


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 serving discovery is separately “responding appropriately to [the opposing party’s] discovery
 demands” are “issues . . . [to] be addressed on their own merits.”) (citation omitted).

 In addition, with respect to RFPs 386-392, 396, 397, 399, and 400, Plaintiffs asserted these RFPs did
 not sufficiently relate to their alleged trade secrets and asked Apple to propose narrowing them. We
 explained that we see no basis to narrow these RFPs because they seek documents directly tied to—
 and often copied verbatim from—the allegations in Plaintiffs’ Fourth Amended Complaint, and
 Plaintiffs’ alleged trade secrets. We further noted that it is Plaintiffs—not Apple—that best know
 Plaintiffs’ purported trade secrets, and whether Apple’s RFPs seek documents unrelated to them.
 Thus, to the extent Plaintiffs contend that any portion of Apple’s RFPs seeks documents that is are
 not related to the alleged trade secrets, or is otherwise irrelevant to the issues in the case, it is
 Plaintiffs that should be identifying that information so that Apple can consider whether and how
 the RFPs should be narrowed. We further stated multiple times that we would consider any
 narrowing of these RFPs that Plaintiffs propose in writing. Plaintiffs said they would get back to us
 on these RFPs, but did not provide a date by when they would so.

 With respect to RFP 376, Plaintiffs explained they did not understand the meaning of “the named
 inventors of the Trade Secrets” as referenced in this RFP. Apple explained that the phrase refers to
 the names of the individuals who contributed to the development of the alleged trade secrets.
  Plaintiffs asserted they would “consider that explanation” and would respond as to whether they
 would produce responsive documents.

 RFP 393: Apple confirmed that it is withdrawing RFP 393 as inadvertently duplicative of RFP 397.

 Plaintiffs did not otherwise articulate any specific (or proper) objections to the above RFPs. Please
 provide Plaintiffs’ position on these RFPs by no later than close of business Tuesday, March 22, and
 identify what documents Plaintiffs are willing to produce, if any. Apple will otherwise consider the
 parties to be at an impasse regarding these RFPs.

 As always, Apple reserves all rights to identify additional deficiencies in Plaintiffs’ discovery
 responses in this case.

 Best,
 Doran


 Doran J. Satanove


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 From: Justin.Gillett <Justin.Gillett@knobbe.com>



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 Sent: Tuesday, March 15, 2022 3:37 PM
 To: Satanove, Doran J. <DSatanove@gibsondunn.com>; Masimo.Apple
 <Masimo.Apple@knobbe.com>
 Cc: *** Apple-Masimo <Apple-Masimo@gibsondunn.com>; Ken.Parker@haynesboone.com;
 WHApple-MasimoServiceList@wilmerhale.com
 Subject: RE: Masimo v. Apple - Discovery Ltr. Re Apple's RFPs

  [WARNING: External Email]
 Doran,

 We are available Thursday at 10:00 a.m. PT.

 Best regards,
 Justin


 From: Satanove, Doran J. <DSatanove@gibsondunn.com>
 Sent: Tuesday, March 15, 2022 12:30 PM
 To: Justin.Gillett <Justin.Gillett@knobbe.com>; Masimo.Apple <Masimo.Apple@knobbe.com>
 Cc: *** Apple-Masimo <Apple-Masimo@gibsondunn.com>; Ken.Parker@haynesboone.com;
 WHApple-MasimoServiceList@wilmerhale.com
 Subject: RE: Masimo v. Apple - Discovery Ltr. Re Apple's RFPs

 Justin,

 We are not available tomorrow at 1:30 PT. We are available Thursday between 9:00 a.m. and 12:00
 p.m. PT. Please confirm a time in that window and I will circulate a dial-in.

 Best,
 Doran

 Doran J. Satanove


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 From: Justin.Gillett <Justin.Gillett@knobbe.com>
 Sent: Monday, March 14, 2022 7:31 PM
 To: Satanove, Doran J. <DSatanove@gibsondunn.com>; Masimo.Apple
 <Masimo.Apple@knobbe.com>
 Cc: *** Apple-Masimo <Apple-Masimo@gibsondunn.com>; Ken.Parker@haynesboone.com;
 WHApple-MasimoServiceList@wilmerhale.com
 Subject: RE: Masimo v. Apple - Discovery Ltr. Re Apple's RFPs


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 [WARNING: External Email]
 Doran,

 Masimo is not available to confer tomorrow at 1:00. We are available Wednesday at 1:30 PT. Please
 let us know whether that works on your end and circulate a conference line.

 Best regards,
 Justin

 Justin Gillett
 Partner
 Justin.Gillett@knobbe.com
 949-721-6322 Direct
 Knobbe Martens
 2040 Main St., 14th Fl.
 Irvine, CA 92614
 www.knobbe.com/justin-gillett


 From: Satanove, Doran J. <DSatanove@gibsondunn.com>
 Sent: Friday, March 11, 2022 4:18 PM
 To: Masimo.Apple <Masimo.Apple@knobbe.com>
 Cc: *** Apple-Masimo <Apple-Masimo@gibsondunn.com>; Ken.Parker@haynesboone.com;
 WHApple-MasimoServiceList@wilmerhale.com
 Subject: RE: Masimo v. Apple - Discovery Ltr. Re Apple's RFPs

 Mark,

 We had noted our availability to meet and confer today about Plaintiffs’ responses to Apple’s
 Sixteenth Set of RFPs in the letter sent below, but we did not hear back. We are also available to
 meet and confer on Tuesday, the 15th, before 1:00 p.m. PT. Please confirm a time.

 Best,
 Doran

 Doran J. Satanove


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 From: Satanove, Doran J.
 Sent: Wednesday, March 9, 2022 12:41 PM
 To: Masimo.Apple <Masimo.Apple@knobbe.com>
 Cc: *** Apple-Masimo <Apple-Masimo@gibsondunn.com>; Ken.Parker@haynesboone.com;


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 WHApple-MasimoServiceList@wilmerhale.com
 Subject: Masimo v. Apple - Discovery Ltr. Re Apple's RFPs

 Counsel,

 Please see the attached correspondence regarding Plaintiffs’ responses to Apple’s 16th Set of RFPs.

 Best,
 Doran

 Doran J. Satanove


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